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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

KEELY R. SMITH,                               §
     Plaintiff,                               §
                                              §
v.                                            §       CIVIL ACTION NO. 7:21-cv-278
                                              §
THE UNIVERSITY OF TEXAS -                     §
RIO GRANDE VALLEY, and, MERCY                 §
AZEKE, VERA RUIZ, MICHAEL                     §
JAMES, and GUY BAILEY, in their               §
official capacities,                          §       JURY DEMANDED
        Defendants.                           §

                             Plaintiff’s Second Amended Complaint

TO THE HONORABLE COURT:

       KEELY R. SMITH, Plaintiff, complains of and against THE UNIVERSITY OF

TEXAS - RIO GRANDE VALLEY, DR. MERCY AZEKE, VERA RUIZ, MICHAEL

JAMES, and GUY BAILEY, Defendants, and for cause of action shows:

                                          I. Introduction

       1. Defendants THE UNIVERSITY OF TEXAS - RIO GRANDE VALLEY

(“UTRGV”), MERCY AZEKE, VERA RUIZ, MICHAEL JAMES, and GUY BAILEY,

discriminated against Plaintiff KEELY R. SMITH (“SMITH”) on the basis of her disability in

regard to job application procedures, the hiring, advancement, or discharge of Plaintiff, job

training, and other terms, conditions, and privileges of employment. Defendants harassed and

excluded Plaintiff SMITH from employment at UTRGV. Additionally, Defendants UTRGV,

AZEKE, RUIZ, JAMES, and BAILEY retaliated against Plaintiff SMITH in response to her

complaints about harassment and in response to her opposition to being excluded from

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employment at UTRGV.

                                             II. Parties

       2. Plaintiff KEELY R. SMITH is a resident of Hidalgo County, Texas.

       3. Defendant GUY BAILEY is the President of UTRGV.

       4. Defendant DR. MERCY AZEKE is the Director of Academic Advising and Support

Services for UTRGV’s SCHOOL OF MEDICINE.

       5. Defendant VERA RUIZ is the Human Resources Manager of UTRGV’s Division of

Health Affairs.

       6. Defendant MICHAEL JAMES is the Chief Human Resources Officer at UTRGV.

       7. Defendant UTRGV is a state agency and institution of higher education located in

Hidalgo County, Texas.

                                   III. Jurisdiction and Venue

       8. The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1337.

       9. The federal claims in this action are authorized and instituted pursuant to 42 U.S.C. §

12117 (a), and 29 U.S.C. § 794a, which invoke the powers, remedies, and procedures set forth in

42 U.S.C. § 2000e-5.

       10. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§

2201 and 2202.

       11. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and 42 U.S.C. §

2000e-5(f)(3).

                                     IV. Service Instructions

       12. Plaintiff SMITH is a resident of Hidalgo County, Texas.

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       13. Defendant Dr. MERCY AZEKE is located in Hidalgo County, Texas and may be

served through UTRGV’s Office of Legal Affairs at Rio Bank - McAllen Suite 5.532, 701 E.

Expressway 83, McAllen, Texas 78501.

       14. Defendant VERA RUIZ is located in Hidalgo County, Texas and may be served

through UTRGV’s Office of Legal Affairs at Office of Legal Affairs at Rio Bank - McAllen

Suite 5.532, 701 E. Expressway 83, McAllen, Texas 78501.

       15. Defendant MICHAEL JAMES is located in Hidalgo County, Texas and may be

served through UTRGV’s Office of Legal Affairs at Rio Bank - McAllen Suite 5.532, 701 E.

Expressway 83, McAllen, Texas 78501.

       16. Defendant GUY BAILEY is located in Hidalgo County, Texas and may be served

through UTRGV’s Office of Legal Affairs at Office of Legal Affairs at Rio Bank - McAllen

Suite 5.532, 701 E. Expressway 83, McAllen, Texas 78501.

       17. Defendant UTRGV is located in Hidalgo County, Texas and may be served through

its Office of Legal Affairs at Office of Legal Affairs at Rio Bank - McAllen Suite 5.532, 701 E.

Expressway 83, McAllen, Texas 78501.

                                             V. Parties

       18. Plaintiff SMITH is a person with a disability. SMITH has attention deficit

hyperactivity disorder, commonly referred to as “ADHD.”

       19. Plaintiff SMITH is a person with a physical or mental impairment that substantially

limits one or more major life activities, has a record of having said disability, and is regarded as

having a disability within the meaning of the ADA, as amended, 42 U.S.C. § 12102.

       20. As a result of her condition, Plaintiff SMITH is substantially limited in major life

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activities including, but not limited to, reading, concentrating, thinking, and communicating.

       21. At all relevant times, SMITH was a qualified individual because she was able to

perform the essential functions of the job she held at UTRGV, with or without reasonable

accommodations.

       22. Defendant UTRGV is an employer as defined by the ADA, 42 U.S.C. § 12111(5),

and is also a covered entity as defined by the ADA, 42 U.S.C. § 12111(2). UTRGV’s programs

and operations are additionally covered by 504 of the Rehabilitation Act, 29 U.S.C. §

794(b)(2)(A) because UTRGV receives federal financial assistance.

       23. Defendant MERCY AZEKE is a director, manager, employee, and agent of

UTRGV, and, thereby, is an employer of Plaintiff as defined by the ADA, 42 U.S.C. § 12111(5).

Defendant MERCY AZEKE has the authority to recommend and/or the authority to hire,

reinstate, integrate, and to prevent discrimination, harassment, exclusion, and blacklisting of

SMITH at UTRGV.

       24. Defendant VERA RUIZ is a manager, employee, and agent of UTRGV, and,

thereby, is an employer as defined by the ADA, 42 U.S.C. § 12111(5). Defendant RUIZ has the

authority to recommend and/or the authority to hire, reinstate, integrate, and to prevent

discrimination, harassment, exclusion, and blacklisting of SMITH at UTRGV.

       25. Defendant MICHAEL JAMES is a director, officer, employee, and agent of

UTRGV, and, thereby, is an employer as defined by the ADA, 42 U.S.C. § 12111(5). Defendant

JAMES has the authority to recommend and/or the authority to hire, reinstate, integrate, and to

prevent discrimination, harassment, exclusion, and blacklisting of SMITH at UTRGV.

       26. Defendant GUY BAILEY is a principal, officer, director, employee, and agent, of

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UTRGV and is an employer as defined by the ADA, 42 U.S.C. § 12111(5). GUY BAILEY has

the authority to hire, reinstate, integrate, and prevent the discrimination, harassment, exclusion,

and blacklisting of SMITH at UTRGV.

       27. Whenever in this Complaint it is alleged that Defendant UTRGV committed any act

or omission, it is meant that UTRGV’s officers, directors, principals, vice-principals, agents,

servants, or employees, including but not limited to MERCY AZEKE, VERA RUIZ,

MICHAEL JAMES, and GUY BAILEY, committed such act or omission and that at the time

such act or omission was committed, it was done with full authorization, ratification or approval

of UTRGV or was done in the routine course and scope of employment of UTRGV’s officers,

directors, principals, vice-principals, managers, agents, servants, or employees, including but not

limited to, MERCY AZEKE, VERA RUIZ, MICHAEL JAMES, and GUY BAILEY.

                          VI. Exhaustion of Administrative Remedies

       28. Prior to filing this suit, SMITH filed a charge of discrimination with the U.S. Equal

Employment Opportunity Commission (“EEOC”). Because the charge involved claims against

UTRGV - a state agency - the charge was forwarded to the U.S. Department of Justice.

       29. On April 22, 2021, Plaintiff SMITH received a right to sue notice from the Civil

Rights Division of the U.S. Department of Justice. This lawsuit is timely filed within 90 days of

the notice.

       30. Plaintiff SMITH has satisfied all administrative prerequisites to this suit and has

exhausted all conditions precedent.

                                      VII. Statement of Facts

       31. Since 2008, Plaintiff SMITH worked for UTRGV as a research assistant, intern,

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counseling specialist, and an academic advisor.

         32. On or about November 1, 2017, Plaintiff SMITH was hired as an academic advisor

in the UTRGV School of Medicine.

         33. Plaintiff SMITH’s direct supervisor in the role of academic advisor was Defendant

Dr. MERCY AZEKE, who held the title of Director of Academic Advising and Student Support

Services for UTRGV’s School of Medicine.

         34. Shortly after commencing the academic advisor position under Dr. AZEKE, Plaintiff

SMITH and Dr. AZEKE began to “clash.”

         35. Plaintiff SMITH asserts that Dr. AZEKE began to harass Plaintiff by suggesting that

SMITH “lacked skills” and asking why Plaintiff was so “happy” and “full of energy” all the

time.

         36. AZEKE did not offer any training to Plaintiff SMITH.

         37. Frustrated with the harassing treatment from Dr. AZEKE, on or around December

15, 2017, Plaintiff SMITH confronted Dr. AZEKE and told her that she had never been

criticized so much in all of her years working in higher education and SMITH confessed to Dr.

AZEKE that SMITH had ADHD and that she took medication to ameliorate the condition.

Plaintiff told Dr. AZEKE that she nevertheless could do good work and make AZEKE proud.

         38. Dr. AZEKE continued to intimidate and harass Plaintiff SMITH.

         39. Dr. AZEKE harassed Plaintiff SMITH by making statements including, but not

limited to: “you are too energized for me” and “you need to take your medication.”

         40. Plaintiff SMITH communicated with Dr. Adela Valdez, Associate Dean of Student

Affairs at UTRGV’s School of Medicine about the issues with Dr. AZEKE due to the continued

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harassment.

       41. After this, Dr. Valdez met with both Plaintiff SMITH and Dr. AZEKE to help clear

the air between them. But Dr. Valdez did not advise Plaintiff SMITH to report her disability or

any of her concerns to HR.

       42. During this meeting, Dr. AZEKE alleged that Plaintiff SMITH was not meeting

with enough School of Medicine students for academic advising.

       43. Dr. AZEKE’s allegation that Plaintiff SMITH was not meeting with enough School

of Medicine students was pretextual.

       44. Plaintiff SMITH was not allowed to work with “high-risk” students - students who

needed additional academic help and who were required to meet with academic advising. Those

with whom SMITH could meet with - who were deemed “non high-risk” - were not required to

go to academic advising. High-risk students met with Dr. AZEKE or other academic advisors.

       45. Upon SMITH commencing her new position at the School of Medicine, Dr. AZEKE

told Plaintiff SMITH to be mindful of the academic schedules of all School of Medicine students

and to “not bother” them during stressful periods. All School of Medicine students were

commonly known to be extremely busy due to their heavy course loads, critical exams, and other

academic requirements such as quizzes, presentations, and other course work and were

sometimes simply unable to make time to voluntarily meet with academic advisors, especially

those who were “non high-risk.”

       46. Plaintiff SMITH was not granted access to Blackboard - a software program that

allowed student schedules, course work, and academic progress to be monitored - in order to

assist her with her job duties, until after her 90 day performance evaluation in which she raised

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the issue.

        47. Plaintiff SMITH’s 90 day performance evaluation was for the period of November 1,

2017, through January 31, 2018, but it was not presented to Plaintiff until February 27, 2018.

        48. Plaintiff SMITH disagreed with the evaluation in which Dr. AZEKE described the

pretextual concerns mentioned above about not meeting with enough students and Plaintiff

SMITH refused to sign the evaluation.

        49. Dr. AZEKE signed the performance evaluation on March 1, 2018.

        50. Sometime in late February 2018, or early March 2018, Plaintiff SMITH met with

UTRGV Human Resources Manager VERA RUIZ to complain about harassment by Dr.

AZEKE on account of SMITH’s disability.

        51. Despite Plaintiff SMITH’s disagreement with the performance evaluation, SMITH

was able to meet with approximately 90% of the students whom were assigned to her and who

were not already meeting with another academic advisor.

        52. Plaintiff SMITH continued her efforts to meet or exceed expectations.

        53. Dr. AZEKE failed to make Plaintiff SMITH aware of relevant School of Medicine

events. Plaintiff SMITH had to repeatedly ask Dr. AZEKE whether she could or should attend

events related to her work - such as a “Welcome Back Weekend” for School of Medicine

students in early April 2018.

        54. Despite her efforts to perform well, on April 9, 2018, Plaintiff SMITH received a

letter from Dr. AZEKE in which Dr. AZEKE communicated to SMITH that her employment

was terminated due to an alleged failure to “maintain satisfactory work performance standards”

during her probationary period.

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        55. Plaintiff SMITH immediately sought to appeal the allegations in the termination

letter on the same day, April 9, 2018. Plaintiff SMITH was told by RUIZ and UTRGV that she

needed to resign or be discharged and, from the information received in a meeting involving

AZEKE and RUIZ, SMITH understood that choosing a discharge rather than resignation was

preferable in order to qualify for unemployment benefits. No one informed SMITH of

UTRGV’s blacklisting policy that would apply to her if she chose discharge over resignation.

        56. Plaintiff SMITH then met with RUIZ on or around April 23, 2018. SMITH

complained to RUIZ that she continued to be harassed and bullied by AZEKE and SMITH told

RUIZ that AZEKE had told SMITH “you will never work here again” because SMITH had

complained about AZEKE.

        57. At this same meeting, on April 23, 2018, SMITH expressed to RUIZ her concern

about her termination overall, especially the wording, including the word “discharge” in her

termination letter and material, and its effects upon SMITH’s ability to obtain other positions

with UTRGV. RUIZ did not offer any information to Plaintiff SMITH about the appropriate

procedures for SMITH’s grievance.

        58. Plaintiff SMITH then applied for forty-seven other jobs at UTRGV for which she

was qualified. UTRGV’s Human Resources Department was aware of Plaintiff’s disability when

the applications were made.

        59. Plaintiff SMITH was immediately rejected for all jobs she applied for despite

Defendant UTRGV’s practice to refer terminated UTRGV employees for other positions

internally.

        60. On July 11, 2018, Plaintiff SMITH sent an email to MICHAEL JAMES,

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UTRGV’s Chief Human Resources Officer, explaining her concerns about being denied

employment at UTRGV and requested a meeting.

          61. On July 11, 2018, JAMES responded to Plaintiff SMITH and told her “I encourage

you to seek employment outside of UTRGV for the immediate future. Perhaps, in the future, you

may be considered for employment with UTRGV, once you have had a sustained successful

employment experience elsewhere.” Plaintiff SMITH began working for the McAllen

Independent School District on October 21, 2018, through present and has shown “successful

employment experience elsewhere.”

          62. Plaintiff SMITH continued to apply for employment with UTRGV through

December 2019 and was immediately rejected for each job.

     VIII. Cause of Action - Violation of Section 504 of the Rehabilitation Act of 1973
               by Defendant The University of Texas - Rio Grande Valley

          63. Plaintiff SMITH incorporates each of the foregoing paragraphs as if fully set forth

herein.

          64. It is unlawful to exclude from the participation in, be denied the benefits of, or be

subjected to discrimination under any program or activity receiving federal financial assistance,

including the processing of applications for employment and hiring. 29 U.S.C. § 794(a); 10

C.F.R. § 4.122(a), (c)(1) and (2).

          65. It is unlawful to limit, segregate, or classify applicants or employees in any way that

adversely affects their opportunities or status because of a disability, such as “blacklisting.” 10

C.F.R. § 4.122(b).

          66. Defendant UTRGV violated 504 of the Rehabilitation Act by (1) limiting,



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segregating, or classifying (or “blacklisting”) Plaintiff SMITH when she sought employment

with UTRGV, and (2) processing Plaintiff SMITH’s applications for employment with UTRGV

in a discriminatory fashion; both in violation of Section 794(a) of the Rehabilitation Act. Plaintiff

asserts that (1) she is an individual with a disability; (2) who is otherwise qualified; (3) who

applied for a position in a program or activity receiving Federal financial assistance; and (4) that

she was discriminated against solely by reason of her or his disability.

          67. Defendant UTRGV’s actions as described above were and are the direct and

proximate causes of Plaintiff SMITH’s damages in this case.

          68. Plaintiff SMITH seeks reinstatement, lost pay, back pay, compensatory damages,

liquidated damages, reasonable attorney’s fees, expenses, costs, pre- and post- judgment interest,

and any other statutory or equitable relief to which she may be entitled.1

                  IX. Cause of Action - Violation of Title I of the ADA by Defendants
                       Mercy Azeke, Vera Ruiz, Michael James and Guy Bailey

          69. Plaintiff SMITH incorporates each of the foregoing paragraphs as if fully set forth

herein.

          70. It is an unlawful employment practice to discriminate against an otherwise qualified

individual with a disability by limiting, segregating, or classifying a job applicant or employee in

a way that adversely affects their opportunities or status, such as “blacklisting.” 42 U.S.C. §

12112(b)(1); 29 C.F.R. § 1630.5.

          71. It is unlawful to discriminate against any individual because such individual has

opposed any unlawful act or practice under the ADA. 42 U.S.C. § 12203(a); 29 C.F.R. §


          1
              Plaintiff is not seeking damages for lost pay or back pay as a result of her termination.

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1630.12(a).

       72. It is unlawful to coerce, intimidate, threaten, harass or interfere with any individual’s

exercise of the rights protected by the ADA, including employment. 42 U.S.C. § 12203(b); 29

C.F.R. § 1630.12(b).

       73. Defendants MERCY AZEKE, VERA RUIZ, MICHAEL JAMES, and GUY

BAILEY, each violated the ADA by: (1) limiting, segregating, or classifying (or “blacklisting”)

Plaintiff SMITH in an adverse way when she sought employment with UTRGV in violation of

Section 12112(b) of the ADA; (2) by retaliating against Plaintiff SMITH when she applied for

employment with UTRGV in violation of Section 12203(a) of the ADA; and (3) by coercing,

harassing, and interfering with Plaintiff SMITH’s exercise of her right to employment when she

applied for jobs with UTRGV in violation of Section 12203(b) of the ADA.

       74. Defendants AZEKE, RUIZ, JAMES, and BAILEY’s actions as described above

were and are the direct and proximate causes of Plaintiff SMITH’s damages in this case.

       75. Plaintiff SMITH seeks injunctive relief against Defendants AZEKE, RUIZ,

JAMES, and BAILEY, for the ongoing violation of the ADA.

                                             X. Prayer

       WHEREFORE, PREMISES CONSIDERED, Plaintiff KEELY R. SMITH respectfully

prays that upon trial of this Court, she recover from Defendant UTRGV the following:

       a.      Enjoin Defendants AZEKE, RUIZ, JAMES, and BAILEY, from their ongoing
               violation of Plaintiff SMITH’s rights under Title I of the ADA;

       b.      Enter declaratory judgment that Defendant UTRGV violated Plaintiff SMITH’s
               rights under Section 504 of the Rehabilitation Act;

       c.      Reinstate Plaintiff SMITH in a comparable position to the one she would have

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               had absent the improper acts of any or all of the Defendants, or front-pay in lieu of
               reinstatement;

       d.      Award Plaintiff SMITH lost pay or back-pay with prejudgment interest pursuant
               to the remedies provided by 504 of the Rehabilitation Act;

       e.      Award Plaintiff SMITH compensatory damages for her past and future pecuniary
               and nonpecuniary losses pursuant to the remedies provided by 504 of the
               Rehabilitation Act;

       f.      Award Plaintiff SMITH reasonable attorney’s fees, expenses including litigation
               expenses and costs, from Defendants;

       g.      All damages allowed under Plaintiff SMITH’s statutory cause(s) of action,
               including statutory interest, prejudgment interest and post-judgment interest as
               provided by law;

       h.      Enter a judgment in favor of Plaintiff SMITH; and

       i.      Grant Plaintiff SMITH any such further and other equitable relief to which she
               may be entitled.

                                                      Respectfully submitted,

                                                      /s/ William D. Mount, Jr.
                                                      KATIE PEARSON KLEIN
                                                      State Bar No. 11561900
                                                      Southern District No. 7577
                                                      WILLIAM D. MOUNT, JR.
                                                      State Bar No. 14602950
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                                       Certificate of Service

       I HEREBY CERTIFY that a true and correct copy of the foregoing document has been
forwarded via Notice of Electronic Filing on June 2, 2022, to all counsel of record, to wit:

                                        Melinda J. Wetzel
                                   Assistant Attorney General
                                  Office of the Attorney General
                                 P.O. Box 12548, Capitol Station
                                    Austin, Texas 78711-2548

                                                      /s/ William D. Mount, Jr.
                                                      WILLIAM D. MOUNT, JR.




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